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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR04-05-JCC
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   JARED WESLEY CRAPO,                  )             ALLEGED VIOLATION
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An initial hearing on a petition for violation of supervised release was held before the

14 undersigned Magistrate Judge on August 16, 2006. The United States was represented by

15 Assistant United States Attorney Karyn S. Johnson, and defendant by Mr. Jeffrey Smith. The

16 proceedings were recorded on cassette tape.

17          The defendant had been charged and convicted of Burglary in the 2nd Degree, and on

18 or about October 22, 2004, was sentenced by the Honorable John C. Coughenour to a term of

19 twenty-seven (27) months of custody and three (3) years of supervised release.

20          The conditions of supervised release included the requirements that the defendant

21 comply with all local, state, and federal laws, and with the standard conditions. Special

22 conditions imposed included, but were not limited to a prohibition against possessing

23 firearms, and participation in mandatory drug testing, substance abuse aftercare, to include

24 urinalysis testing and a mental health program. On February 23, 2006, the U.S. Probation

25 Office submitted and received a request for modification directing release of the defendant to

26 a halfway house for up to 120 days.

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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01          On March 31, 2006, the U.S. Probation Office submitted a violation report alleging

02 that the defendant violated his supervised release by failing to reside in the community

03 corrections center. After a hearing on April 28, 2006, the Honorable John C. Coughenour

04 ordered the defendant to reside in a community corrections center for up to 180 days, or until

05 discharged by the center director, with the approval of the U.S. Probation Office.

06          In a Petition for Warrant or Summons dated June 1, 2006, Senior U.S. Probation

07 Officer Margaret K. Kellow asserted the following violation by defendant of the conditions

08 of his supervised release:

09          Violation No. 1: Failing to reside in and satisfactorily participate in a community

10 corrections center program, on or about May 28, 2006, in violation of the special condition

11 that he reside in the CCC until discharged by the center director, with the approval of the

12 probation officer.

13          On August 3, 2006, the defendant made his initial appearance on the alleged

14 violation. He was advised of the alleged violation, and of his rights, and entered a denial to

15 the alleged violation. The matter was set for an evidentiary hearing to take place on August

16 16, 2006. Pending his hearing, the defendant was detained.

17          On August 16, 2006, the defendant was again advised as to the allegation contained in

18 the petition and of his rights to an evidentiary hearing. Defendant admitted to the violation,

19 and waived any rights to an evidentiary hearing as to whether it had occurred.

20          I therefore recommend that the Court find the defendant to have violated the terms

21 and conditions of his supervised release as to Violations No. 1, and that the Court conduct a

22 hearing limited to disposition. A disposition hearing will be set before the Honorable John

23 C. Coughenour on September 29, 2006 at 9 a.m.

24           Pending a final determination by the Court, the defendant has been detained.

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     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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01          DATED this 16th day of August, 2006.



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                                                     JAMES P. DONOHUE
04                                                   United States Magistrate Judge
05
     cc:    District Judge:            Honorable John C. Coughenour
06          AUSA:                      Ms. Karyn S. Johnson
            Defendant’s attorney:      Mr. Jeffrey Smith
07          Probation officer:         Ms. Margaret K. Kellow
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     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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